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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 ANNE WEST and TOM BROWN,                               LEAD CASE

                       Plaintiffs,                      Case No.: 2:19-cv-00501-AJS
              vs.

 DOCUSIGN, INC.,

                       Defendant.


 TOM BROWN,                                             MEMBER CASE

                       Plaintiff,                       Case No. 2:19-cv-00502-AJS
               vs.

 AFFINITY GAMING,

                       Defendant.


                      STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Tom Brown, and Defendant, Affinity

Gaming, hereby stipulate and request that this Court dismiss with prejudice Plaintiff’s member

action, Case No.: 2:19-cv-00502-AJS, against Defendant Affinity Gaming, without an award or

issuance by this Court to either party for its fees, costs and/or attorneys’ expenses.

       Dated: September 17, 2019:                  Respectfully submitted,

 /s/ Benjamin J. Sweet                             /s/ Timothy J. Straub
 Benjamin J. Sweet                                 Timothy J. Straub, Esq.
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